Case 2:04-cr-20476-SH|\/| Document 118 Filed 08/01/05 Page 1 of 3 Page|D 318

H\I THE UNITED STATES DISTRICT COURT F\LED By % D.G.
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION 05 hug ..\ pa 5= Sh
t`rtGWS M. GOUD
* umw .M§LM
UNITED sTATEs oF AMERICA, wm or witt its
*
Plaintiff,
*
vs. No. 04-20476-D
*
BlLLY sCOTT,
*
Defendant.

ORDER GRANTING GOVERNMENT'S MOTION
TO RE-SET SENTENCING DATE

 

 

It is hereby ORDERED that the Govemment's motion to re-set the sentencing of
defendant, BlLLY SCOTT, currently set for March 3, 2006, is hereby GRANTED, and the

sentencing is hereby reset to q , _)‘1, 2005, at M.

DONE at Memphis, Tennessee, this d[L`day of @{€005.

 

 

  
 

this document entered on the docket she
With F{u|e 55 and/or 32(b) FFtCrF’ on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 118 in
case 2:04-CR-20476 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

